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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

EDWING D. DANIEL,
WILLIAM COTTRILL,
BROOKE PADGETT,
MICHAEL FANELLA,
ELAINE LAREINA,

               Plaintiffs,                           CASE NO.: 8:17-cv-02503-SCB-JSS

v.


NAVIENT SOLUTIONS, LLC,

            Defendant.
________________________________/

               PLAINTIFFS’ SUPPLEMENT TO MOTION FOR SANCTIONS
       Plaintiffs, Ed Daniel et al. (“Plaintiffs”), pursuant to Federal Rule of Civil Procedure 37,

hereby files this Supplement to the pending Motion for Sanctions against Navient Solutions, LLC

(“Defendant” or “NSL”) based on Defendant’s failure to obey this Court’s June 26, 2018 Order

(“Order”) (Doc. 65) and additional gamesmanship during the course of discovery.

       Specifically, in addition to the conduct described in Plaintiffs’ first Motion for Sanctions,

Doc. 94, since the filing of that motion Defendant and its counsel have:

           •   Failed to produce documents admitted during deposition to exist;

           •   Produced documents that they have previously represented to this Court did not

               exist; and

           •   Produced documents that they were previously ordered in June to produce mere

               hours before and even during relevant depositions.




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        It is clear that Defendant and its counsel have engaged in a strategy of obstruction and

delay in violation of the spirit and letter of the Federal Rules of Civil Procedure, the Middle District

Discovery Handbook, and this Court’s June 26, 2018 Order.

                        PROCEDURAL BACKGROUND AND FACTS

        This Supplement incorporates the Procedural Background and Facts set forth in the Motion

for Sanctions, Doc. 94, and in addition states as follows:

        1.      On June 26, 2018, the Court granted Plaintiffs’ motion to compel and ordered

Navient to produce within sixty (60) days of the date of the Court’s Order “All documents

reflecting communications with Plaintiffs including without limitation call logs, account notes,

audio recordings, transcripts, letters, bills, etc.,” (Request for Production 11). See Doc. 42 Ex. 4;

Doc. 65 (emphasis added).

        2.      In the same order, the Court granted Plaintiffs’ motion to compel and ordered

Navient to produce within sixty (60) days “All documents related to any complaints or grievances

made by or on behalf of any borrowers against [NSL] relating to or involving the PSLF program”

(Request for Production 18). See Doc. 42 Ex. 4; Doc. 65.

        3.      The deposition of Defendant’s corporate representative occurred on November 29,

2018.

        4.      On the evening of November 28, 2018, Defendant’s counsel produced hundreds of

pages of documents and recordings that had never been produced before.

        5.      First, Defendant’s counsel produced more than 200 pages of records at 5:10 p.m.,

including documents related to NSL’s policies and procedures. See Exhibit A.

        6.      Then Defendant’s counsel produced about 50 more pages of records and 5

additional recordings at 7:18 p.m. See Exhibit B.




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        7.      Thereafter, Defendant’s counsel produced 11 more recordings at 7:56 p.m. See

Exhibit C.

        8.      Further, Defendant’s counsel produced about 30 more pages of records related to

NSL’s policies at 10:55 a.m. on November 29, 2018, while the deposition was actually

occurring. See Exhibit D.

        9.      Moreover, on November 26, 2018, Defendant’s counsel previously represented to

this Court that there were no more recordings related to Plaintiff Ed Daniel. Doc. 99, p. 5.

        10.     However, on December 3, 2018, on the evening before Mr. Daniel’s deposition,

after business hours and for the first time, Defendant produced six additional recordings of Mr.

Daniel’s interactions with NSL related to this action, despite have been ordered in the Court’s June

June 26, 2018, Order granting Plaintiff’s motion to compel to produce such materials within sixty

(60) days of the date of the Court’s Order. See Doc. 42 Ex. 4; Doc. 65. Moreover, NSL had only

a week before making this last-minute, after-hours production represented to this Court that no

such recordings exist. See Exhibit E.

        11.     Moreover, during her deposition, NSL’s corporate representative testified that there

were additional documents related to complaints by consumers, including letters and e-mails. NSL

has not produced a single page of such documents (despite being ordered to do so) and instead its

counsel has falsely represented that a single spreadsheet was the only such document. Doc. 99, p.

8.

        12.     Defendant’s gamesmanship has prevented meaningful discovery leading up to the

filing of Plaintiffs’ class certification motion.

        13.     Plaintiff requests this court to sanction Defendant and its counsel for disobeying

this Court’s order.




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                                   MEMORANDUM OF LAW

       Plaintiffs incorporate the Motion for Sanctions, Doc. 94, including the memorandum of

law contained in that motion. NSL has violated this Court’s Order for strategic purposes and

should be sanctioned.

       Failure to Produce Relevant Documents

       As detailed in the Motion for Sanctions, NSL was ordered to produce all documents related

to consumer complaints. Doc. 94, p. 5-6; Doc. 65. Instead, NSL produced only a spreadsheet that

it claims “is the document responsive to plaintiff’s request.” Doc. 99, p. 8. However, during the

deposition of NSL’s corporate representative, NSL admitted that other documents exist relevant

to Plaintiff’s request for such information, including letters and e-mails related to such complaints.

NSL has not produced any such letters or e-mails, nor any other documents.

       In its response to the Motion for Sanctions, NSL claims that such additional documents

were “not requested or ordered and [are] unwarranted.” Doc. 99, p. 8. All those claims are false.

Those are exactly the documents that Plaintiffs requested. Doc. 94-1. Moreover, the Court ordered

such documents produced. Doc. 65, ¶ 1. NSL’s assertion that such documents are “unwarranted,”

is baseless – the issue has been litigated and NSL was ordered to produce the records. The failure

to do so is why Plaintiffs now seek sanctions.

       Late-produced Documents

       Defendant’s corporate representative’s deposition occurred on November 29, 2018. On

the evening of November 28, 2018, Defendant’s counsel began producing additional records that

they were ordered in June to have already produced. First, Defendant’s counsel produced more

than 200 pages of records at 5:10 p.m. Then they produced about 50 more pages of records and

5 additional recordings at 7:18 p.m. Thereafter, Defendant’s counsel produced 11 more recordings




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at 7:56 p.m. Further, Defendant’s counsel produced about 30 more pages of records during the

corporate representative deposition.

         Likewise, Plaintiff Edwing Daniel’s deposition occurred on December 4, 2018. On the

evening of December 3, 2018, at 6:11 p.m., NSL’s counsel sent additional recordings and

documents never before produced. Mere days before producing those recordings, NSL’s counsel

represented to this Court that such documents did not even exist. Doc. 99, p. 5 (“NSL also

confirmed that no additional recordings could be located for Daniel . . .”). That representation was

false.

         All of the additional records were documents that NSL had been ordered in June 2018 to

produce by August 25, 2018. Doc. 65. Such documents include information about NSL’s policies

and procedures, and recordings of phone calls between Plaintiffs and Defendant. See e.g., Doc

94-1, p. 7; Doc. 65, ¶¶ 1-2. The fact that NSL did not produce those documents until months later

(hours before and during depositions) demonstrates conclusively that NSL chose to disobey this

Court’s order in order to engage in discovery gamesmanship. Such conduct should be punished

in a manner that ensures that NSL obtains no benefit from its defiance of the Court’s order.

                                          CONCLUSION

         In addition to the reasons set forth in the Motion for Sanctions, for the reasons set forth

above, Plaintiffs respectfully request that this Court grant Plaintiff’s Motion for Sanctions. Doc.

94. “It is not the court's role, nor that of opposing counsel, to drag a party kicking and screaming

through the discovery process.” U & I Corp. v. Advanced Med. Design, Inc., 251 F.R.D. 667, 676

(M.D. Fla. 2008) (awarding sanctions for failing to produce documents after court order).

         Here, the timing of NSL’s strategy of obstruction has prejudiced Plaintiffs in preparing the

motion for class certification. NSL should have produced all these materials months ago – as it

was ordered to – so that Plaintiffs could have pursued any follow-up discovery or additional areas


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of inquiry. Mere payment of fees is insufficient to cure the prejudice here. This Court should

sanction NSL severely to assure that its strategy is not effective and to dissuade other litigants

from violating discovery orders, as NSL did.


Dated: December 5, 2018                              Respectfully Submitted,

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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on December 5, 2018, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida, Tampa

Division, for filing and uploading to the CM/ECF system.

                                               _/s/ Gus M. Centrone__________
                                               Attorney




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